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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           UNITED STATES OF AMERICA,                    :
                                                        :      CRIMINAL INDICTMENT NO.
                 v.                                     :      1:11-CR-136-JEC/AJB-01
                                                        :
           JOSHUA McCULLOUGH,                           :
                                                        :
                        Defendant.                      :

                           UNITED STATES MAGISTRATE JUDGE’S
                         NON-FINAL REPORT AND RECOMMENDATION

                 In this case, the government seeks to introduce evidence seized during a search

           of the Backwoods Bar & Grill (“BB&G”), a business entity the government alleges

           provided funding for marijuana grow houses. Presently before the Court is the motion

           of Defendant Joshua McCullough seeking to suppress evidence from a search by

           warrant on December 8, 2010, of BB&G’s premises, located at 2220 Jodeco Road, in

           McDonough, Henry County, Georgia. [See Doc. 156]. In a prior R&R, the Court

           concluded that an evidentiary hearing was necessary to establish whether McCullough

           had standing to contest the search and seizure at that location. [Doc. 133 at 103]. An

           evidentiary hearing was held, [Doc. 415 (hereinafter “T__”)], after which the parties

           filed briefs, [Docs. 403 (McCullough), 438 (Government), 439 (McCullough)]. For the

           following reasons, the undersigned RECOMMENDS that the motion be DENIED on




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           the grounds that McCullough has not established standing to contest the search of the

           BB&G premises.

           I.    Standing

                 A.     Facts

                 The evidentiary-hearing evidence was as follows: BB&G is a bar located in

           McDonough, Henry County, Georgia. T65. McCullough owned the bar; however, his

           wife was listed as the organizer in the original paperwork when it was a limited liability

           company (“LLC”), with McCullough listed only as its registered agent. T68, 71; Gov’t

           Ex. 2.1 McCullough testified that in July 2010, he registered the business with Henry

           County as a sole proprietorship doing business as “The Woods.” T72.2 McCullough

           oversaw the business’s day-to-day operation. T68. He spent six to ten hours a day at

           the bar. T68-69. The liquor license was in his name. T69-70. He was the ultimate

           decisionmaker as to hiring and firing. T70. McCullough testified that he employed


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                        Gov’t Ex. 2 is a copy of records from the Georgia Secretary of State
           containing the annual registration history for Backwoods Bar & Grill, L.L.C. as of
           November 9, 2011. The records reflect that Backwoods Bar & Grill, L.L.C., was
           created on September 9, 2005, its last annual registration statement was filed on
           February 9, 2010, and its status as of November 9, 2011, was “Active/Noncompliance.”
                 2
                         A sole proprietor in Georgia must register the business’s trade name with
           the Clerk of the Superior Court of the county in which it does business. O.C.G.A. § 10-
           1-490(a).

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           two managers, whose duties included supervision of the operations, closing up, and

           handling the liquor and security. T69, 73.

                 The business contained public and non-public areas. T65-66. The public areas

           included a sitting area, pool tables, a dance floor, and the bar, and held up to

           139 people. T65. The non-public areas included a kitchen, cooler room, storage, and

           an office. T66. The office area was upstairs from the public area, in what is best

           described as a loft. Id. McCullough testified that the door leading to the stairs had a

           sign stating “Employees Only” and that the door to the stairway was supposed to be

           locked. T67-68. McCullough, the bar’s managers, and the janitor possessed the key.

           T67.3 The only door to the office was the one at the base of the stairs. T68. The public

           was not allowed in the office. Id. Other employees such as bartenders, waitresses, bar

           backs, cooks, and security were not allowed in the office without being accompanied

           by a manager or obtaining a key from a manager. T69. The managers had free access

           to the office while at work. T73. McCullough testified that his wife was present in the

           office only when he was. T74-75.


                 3
                         At the hearing, McCullough denied telling law enforcement that he was
           the only person with access to the office and testified that he did not recall stating
           during a telephone call recorded from jail that he lied about who had access to the room
           to protect another person. T74.

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                 McCullough was not present at the bar when the search warrant was executed on

           December 8, 2010, T74, although he was observed there by police surveillance the

           previous day. T86.

                 The office contained a safe and a computer. T70.4 The bar’s business records

           were maintained in the office filing cabinets, desk drawers, and computer.

           T70, 75. The records included bank statements generated by the bank. T74.

                 In executing the search warrant, the officers were looking for any type of

           documents that would pertain to BB&G, as well as any kind of financing for the grow

           houses, including business documents, computers, and information concerning Old

           South Amusements—which the officers believed also was involved in financing the

           grow houses. T77, 79. At the time the search warrant was executed, the door to the

           stairs leading up to the office was not locked. T77.

                 The office contained filing cabinets and an L-shaped desk with a back panel.

           T78. The officers searched the file cabinets and the desk. T79. They seized documents

           that appeared not to be related to running the bar business and all bank records. T80.

           None of the seized documents appeared to be written solely by McCullough. T81. In

           an open safe on the desk were two plastic bags containing cocaine, a quantity of

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                        Another safe was located behind the bar. T70.

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           marijuana, and U.S. currency, and a firearm was located in a holster underneath the

           desk. T80, 84, 86. The currency was seized as suspected drug money due to its close

           proximity to the drugs. T81. The officers also took an external hard drive that was in

           the safe, as well as another hard drive (although its location was not detailed). T82.5

                 Officers spoke to one of the three managers, Shaun Brown, the day manager,

           who indicated that the managers, McCullough, and Mrs. McCullough had access to the

           office area. T82.

                 5
                        The inventory of the search, attached to Doc. 241, Ex. G, shows the
           following items being seized:

                 (1) 1 Beretta mod. 92 FS- 9 cal;
                 (2) 4 Beretta magazines with 9 mm ammunition;
                 (3) miscellaneous paperwork;
                 (4) 1 glass jar containing suspected marijuana;
                 (5) 2 clear bags containing an off-white substance;
                 (6) 1 32gb hard drive;
                 (7) 4 bundles of U.S. currency ($400 total);
                 (8) HP Pavilion A1710N hard drive;
                 (9) Isuzu Box Truck (impounded);
                 (10) roll of Old South Amusement tape;
                 (11) 2 Memorex DVD+R DL - copy of Centon 32gb hard drive (item # 6);
                 and
                 (12) 1 Verbatim DVD-R - copy of HP Pavilion computer (item # 8).

           Bates No. RPT-000627. The exhibit also contains a return for a search on December
           15, 2010, at 108 South Zack Hinton Parkway. See id. Because the parties did not
           explain the relevance of this document to the instant motion, the Court will not discuss
           it.

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                 B.      Contentions of the Parties

                 McCullough argues that the evidence at the hearing established that he had a

           reasonable expectation of privacy in the office of the bar. He relies mainly on the fact

           that the office was off-limits to the public, which led the court in O’Rourke v. Hayes,

           378 F.3d 1201, 1206 (11th Cir. 2004), to hold that to search a non-public area of a

           business, a warrant was required. [Doc. 403 at 2-3]. He argues that if a warrant is

           required in that situation, he should be found to have a legitimate expectation of privacy

           under the facts in this case. [Id.]. McCullough also relies upon United States v.

           Gonzalez, Inc., 412 F.3d 1102, 1117 (9th Cir. 2005), where the court held that where

           family members owned the office and managed the business on a day-to-day basis, they

           had   a     legitimate   expectation    of       privacy   over   calls   made   at   the

           premises. [Doc. 403 at 4].6

                 McCullough further argues that he has standing to challenge the search because

           (1) the business at the time of the search was run as his sole proprietorship; (2) he held

           the liquor license in his name; (3) he was the ultimate personnel decisionmaker;

           (4) access to the office was limited to the managers he hired; and (5) his policy was that



                 6
                         The case is incorrectly cited in Defendant’s briefs as United States v.
           Gonzalez.

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           the access to the office was further restricted by a locked door with only a few

           designated persons having a key. [Id. at 4]. He also contends that he personally was

           the subject of the search because the bar was not alleged to have engaged in illegal

           conduct, the police were simultaneously searching his residence and BB&G, and he

           was arrested following the search of his home.7 [Id. at 5]. In further support of his

           argument that he personally was the subject of the bar search, he points out that

           paperwork of another one of his businesses, Preferred Amusements, was located during

           the search. [Id.]. He also argues that because he had custody and control of the

           premises, he has standing to contest its search. [Id. at 5-6 (citing United States v.

           Baron-Mantilla, 743 F.2d 868, 870 (11th Cir. 1984))].

                 The government responds that McCullough lacks standing under the applicable

           test for standing in a business setting outlined by the cases in the Eleventh Circuit,

           notably United States v. Bush, 582 F.2d 1016, 1018-19 (5th Cir. 1978)8 (describing the

           factors for corporate officer standing as: whether (1) the documents seized were


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                        McCullough avers that this arrest explains why he was not on the business
           premises at the time of the search. [Doc. 403 at 4].
                 8
                        The Eleventh Circuit has adopted as binding precedent decisions of the
           Fifth Circuit, including Unit A panel decisions of that circuit, rendered prior to
           October 1, 1981. See United States v. Todd, 108 F.3d 1329, 1333 n.5 (11th Cir. 1997);
           Limelight Prods., Inc., v. Limelite Studios, Inc., 60 F.3d 767, 769 n.1 (11th Cir. 1995).

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           prepared by the defendant; (2) the searched materials were stored in personal or

           corporate storage; (3) the defendant was present on the premises when searched; and

           (4) the search was directed at corporate activity as opposed to the corporate officer

           personally). [Doc. 38 at 11, 12]. It notes that the documents seized were prepared by

           third parties, primarily banks, and none appeared to have been prepared exclusively by

           McCullough.9 [Id. at 12]. It also seized documents relating to Old South Amusements,

           since that entity likewise was alleged to engage in financing the grow houses. [Id.].

           The government further points out that the items seized were in a filing cabinet and

           desk in the bar’s office area and that the drugs, currency, and firearm were properly

           seized from the open safe because they were in plain view. [Id. at 12-13]. Next, the

           government notes that McCullough was not present at the time of the search and did not

           appear on the scene during the search. [Id. at 13-14]. It also contends that the search

           targeted the bar’s activities and not McCullough personally. [Id. at 14]. The

           government then argues that McCullough did not establish that he exclusively prepared

           any of the documents nor did he secure the office for his exclusive use. [Id.]. Instead,


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                       The government also contends that on the seized portable hard drive were
           located bar documents and photographs, including those of McCullough,
           co-defendants, and the grow house under construction at 1680 Jodeco
           Road. [Doc. 438 at 12 n.5].

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           the government claims that numerous other employees had access to the office and that

           the office was not secured from the publicly accessible areas. [Id.].

                  The government next argues that while McCullough was not at the bar when it

           was searched, neither was he at his home as it was being searched, as he claims.

           Instead, he was called back to his home by his children; thus, the government argues,

           this fact cuts against his argument that he was not present at the scene of the bar search

           because he was arrested elsewhere. [Id. at 14 & n.7].10 In any event, the government

           points out that McCullough has failed to address any of the other Bush factors.

           [Id. at 15].

                  The government further submits that it is not contending that a commercial

           owner has no expectation of privacy in commercial property, but rather that

           McCullough has not shown that he possessed a reasonable expectation of privacy in the

           bar property. [Id.]. In this regard, it argues that since others had access to the office




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                        The government argues that the Court should not consider McCullough’s
           arguments about his arrest because there is no evidence in the record as to the
           circumstances of his arrest. While the government’s point is well-taken, the Court will
           consider defense counsel’s statement nonetheless, because the government also proffers
           out-of-court evidence and because none of the out-of-court evidence affects the Court’s
           conclusions regarding the motion now before it.

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           and the door to the stairway leading to the office was unlocked, McCullough’s

           argument that he could expect privacy in the office is undercut. [Id.].

                 With few exceptions, McCullough’s reply brief is identical to his opening brief;

           the Court summarizes those differences that are of consequence. First, as to O’Rourke,

           McCullough again argues that the case stands for the proposition that if a warrant is

           required to search a place, the warrant must be valid and that “an individual’s otherwise

           reasonable expectation of privacy is not defeated because he utilizes employees in areas

           of a business not open to the public.” [Doc. 443 at 4]. Next, he argues that while the

           government produced evidence that the door to the stairwell leading to the office was

           unlocked, the government only called as a witness the second officer who entered the

           office; there was no evidence of what the first officer found other than there was no

           forced entry. [Id. at 5]. He also argues that the incriminating nature of any evidence

           on the external hard drive could not have been readily apparent, and so the hard drive

           was improperly seized. [Id. at 6 n.2].

                 C.     Discussion

                        1.     Legal Framework

                 The Fourth Amendment prohibits “unreasonable searches and seizures.”

           U.S. Const. Amend. IV. To challenge a seizure as violating the Fourth Amendment,

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           a defendant must have “standing,” i.e., a legitimate expectation of privacy in the

           premises. See United States v. Gonzalez, 940 F.2d 1413, 1420 n.8 (11th Cir. 1991).11

           As a result, the Fourth Amendment protects an individual in those places where he can

           demonstrate a reasonable expectation of privacy against government intrusion.

           See Katz v. United States, 389 U.S. 347, 353 (1967). Fourth Amendment rights are

           personal, and only individuals who actually enjoy the reasonable expectation of privacy

           may challenge the validity of a government search. Rakas v. Illinois, 439 U.S. 128,

           133-34, 143 (1978); United States v. Cooper, 203 F.3d 1279, 1284 (11th Cir. 2000). An

           individual has standing to challenge a search if “(1) he has a subjective expectation of

           privacy, and (2) society is prepared to recognize that expectation as objectively

           reasonable.” United States v. Harris, 526 F.3d 1334, 1338 (11th Cir. 2008). That is, a

           defendant must establish both a subjective and an objective expectation of privacy.

           United States v. Segura-Baltazar, 448 F.3d 1281, 1286 (11th Cir. 2006); United States

           v. Robinson, 62 F.3d 1325, 1328 (11th Cir. 1995). The subjective prong is a factual

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                        The undersigned recognizes that the Supreme Court disapproves of the use
           of the word “standing.” See Rakas v. Illinois, 439 U.S. 128, 139-40 (1978); see also
           United States v. Hawkins, 681 F.2d 1343, 1344-45 (11th Cir. 1982). However, the
           undersigned will use the word “standing” when referring to whether the defendants
           have an expectation of privacy because courts routinely use “standing” as “shorthand
           for the existence of a privacy or possessory interest sufficient to assert a Fourth
           Amendment claim.” United States v. Daniel, 982 F.2d 146, 149 n.2 (5th Cir. 1993).

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           inquiry, United States v. McKennon, 814 F.2d 1539, 1543 (11th Cir. 1987); United

           States v. Jones, 184 Fed. Appx. 943, 947 (11th Cir. June 22, 2006); and “requires that

           a person exhibit an actual expectation of privacy,” United States v. King,

           509 F.3d 1338, 1341 (11th Cir. 2007) (quoting Segura-Baltazar, 448 F.3d at 1286).

           The objective prong is a question of law, McKennon, 814 F.2d at 1543, and “requires

           that the privacy expectation be one that society is prepared to recognize as reasonable,”

           King, 509 F.3d 1338, 1341 (11th Cir. 2007) (quoting Segura-Baltazar, 448 F.3d

           at 1286).

                 A legitimate expectation of privacy “by definition means more than a subjective

           expectation of not being discovered.” United States v. Whaley, 779 F.2d 585, 590

           (11th Cir. 1986) (quoting Rakas, 439 U.S. at 143, n.12). Assessing the legitimacy of a

           privacy expectation necessarily entails a balancing of interests. No single factor is

           determinative, Oliver v. United States, 466 U.S. 170, 177 (1984), and no one

           circumstance is talismanic to this inquiry, United States v. Haydel, 649 F.2d 1152, 1154

           (5th Cir. Unit A Jul. 8, 1981). “While property ownership is clearly a factor to be

           considered in determining whether an individual’s Fourth Amendment rights have been

           violated, property rights are neither the beginning nor the end of . . . [the] inquiry.”

           United States v. Salvucci, 448 U.S. 83, 92 (1980) (citation omitted). Other factors to

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           be weighed include whether the defendant has a possessory interest in the thing seized

           or the place searched, whether he has the right to exclude others from that place,

           whether he has exhibited a subjective expectation that it would remain free from

           governmental invasion, whether he took normal precautions to maintain his privacy,

           and whether he was legitimately on the premises. United States v. Pitt, 717 F.2d 1334,

           1337 (11th Cir. 1983); Haydel, 649 F.2d at 1154-55.

                 Individuals also may have a “reasonable expectation of privacy against intrusions

           by police” into their business offices. O’Connor v. Ortega, 480 U.S. 709, 716 (1987)

           (“Within the workplace context, . . . an expectation [of privacy] in one’s place of work

           is based upon societal expectations that have deep roots in the history of the

           [Fourth] Amendment.” (citations and internal quotation marks omitted)). “The fact

           that the test of the legitimacy of an expectation of privacy is the same in both the

           residential and commercial sphere does not mean, however, that the factors which tend

           to be of probative value in resolving the inquiry when the governmental intrusion

           involves a residence, are to be accorded the same weight when the inquiry is directed

           at the legitimacy of a privacy expectation in commercial property.” United States v.

           Hall, 47 F.3d 1091, 1095 (11th Cir. 1995). So, while “[a]n owner or operator of a

           business . . . has an expectation of privacy in commercial property, which society is

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           prepared to consider to be reasonable,” New York v. Burger, 482 U.S. 691, 699 (1987),

           the “Supreme Court’s treatment of the expectation of privacy that the owner of

           commercial property enjoys in such property has differed significantly from the

           protection accorded an individual’s home,” Hall, 47 F.3d at 1095 (11th Cir. 1995)

           (citing Donovan v. Dewey, 452 U.S. 594, 598-99 (1981)). Thus, unlike the nearly

           absolute protection of a residence, the “great variety of work environments” requires

           analysis of reasonable expectations “on a case-by-case basis.” O’Connor, 480 U.S.

           at 718; see also Burger, 482 U.S. at 700 (“An expectation of privacy in commercial

           premises . . . is different from, and indeed less than, a similar expectation in an

           individual’s home.”); United States v. Chaves, 169 F.3d 687, 690 (11th Cir. 1999)

           (noting there is a significantly diminished expectation of privacy in a business in

           comparison to a home); McLaughlin v. Elsberry, Inc., 868 F.2d 1525, 1529 (11th Cir.

           1988) (“While the operator of a business has a recognized expectation of privacy in his

           commercial property, that expectation is not as great as the similar expectation of

           privacy in one’s home.”) (citation omitted).

                 This reduced expectation of privacy does not mean that a defendant has no

           expectation of privacy in a place of business. Chaves, 169 F.3d at 691. Thus, “[t]he

           businessman, like the occupant of a residence, has a constitutional right to go about his

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           business free from unreasonable official entries upon his private commercial property.”

           Hall, 47 F.3d at 1094 (quoting See v. Seattle, 387 U.S. 541, 543 (1967)). The

           “reasonable expectation of privacy depends upon the particular nature and

           circumstances surrounding the place to be searched.” Rakas, 439 U.S. at 152-53;

           see also Mancusi v. DeForte, 392 U.S. 364, 368 (1968) (performing standing inquiry

           “in light of all the circumstances”). “[A] commercial proprietor has a reasonable

           expectation of privacy only in those areas where affirmative steps have been taken to

           exclude the public.” Hall, 47 F.3d at 1096.

                 In addition, an expectation of privacy in business premises is analyzed in light

           of the legal form of the business. Although the Court’s research has not found any

           Eleventh Circuit case discussing the expectation of privacy of a business operating as

           a sole proprietorship, one commentator has noted that a sole proprietor of a business

           has standing with regard to his place of business and business records.             See

           Wayne R. LaFave, 6 Search & Seizure: A Treatise on the Fourth

           Amendment § 11.3(d) & n.217 (4th ed.).12 A contrary position was articulated in

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                         However, the federal cases cited in the explanatory footnote by Professor
           LaFave do not support the broadly stated proposition. For example, in United States
           v. Trickey, 711 F.2d 56 (6th Cir. 1983), law enforcement investigating the defendant for
           counterfeiting obtained a search warrant for a small outer building located on the
           residential property of the defendant’s nephew, which building the defendant rented

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           from his nephew. This small building had no working plumbing facilities, no furniture,
           and the windows were boarded up. The kitchen had been converted into a dark room
           and upon conducting a search, the agents found and seized a printing press, a camera,
           paper, ink and various other printing materials. In finding that the defendant had
           standing to challenge the warrant, the court held

                 the appellant maintained his printing activity in an outbuilding that was
                 located on residential property. He had boarded up the windows such that
                 it was clear that he did not intend to expose this activity to the public.
                 Rather, he exhibited both a subjective and an objective expectation that
                 the information and activities conducted therein would remain private.
                 Moreover, since appellant was the lessee of the premises, the activity
                 which he exhibited an expectation of privacy for would certainly be
                 recognized by society as legally justified. Clearly, both the owner and the
                 lessee of the premises would be recognized by society as having a
                 legitimate expectation of privacy as to the outbuilding.

                 Furthermore, the assertion that the premises were maintained in a manner
                 similar to a business does not abolish the proprietor’s Fourth Amendment
                 protections. It merely makes such protections less significant than they
                 would be in the context of a home. The controlling factor in this inquiry
                 is that the individual have a legitimate expectation of privacy in the
                 premises. . . The appellant clearly has such a legitimate expectation in
                 regard to the outbuilding and, therefore, he has standing to challenge the
                 validity of the search warrant and to have the evidence suppressed during
                 the trial.

           Trickey, 711 F.2d at 58-59. Whether the defendant in that case had standing or not, the
           holding does not support a bold statement that a sole proprietor has Fourth Amendment
           standing in his business records.

                 Professor Lafave also cited United States v. Morton Provision Co.,
           294 F. Supp. 385 (D. Del. 1968), which in turn relied upon DeForte, 392 U.S. 364
           (1968). In DeForte, the defendant claimed standing to object to a warrantless search

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           United States v. Miller, No. 84 CR 728, 1985 WL 1590 (N.D. Ill. May 17, 1985), where

           the court found that a sole proprietor had no expectation of privacy in business records

           kept at one of his medical clinics because he allowed employees of the searched clinic

           to use those records in the course of business and thereby assumed the risk that other

           persons would have access to those business records. Id. at *3.

                 On the other hand, where a business is operated as a corporate structure, “the

           weight of precedent . . . clearly indicates that the possessory interest attendant to sole


           of his union office and seizure of union documents therefrom. The office in which he
           worked was one large room shared with other union officials, and although the record
           did not establish from what part of the office the records were taken, the parties
           stipulated that he had custody of the records at the time they were taken and that he
           spent a considerable amount of time in the office. Id. at 368-69. The Supreme Court
           held that DeForte had standing. Recognizing that he would have had standing if the
           records were in an exclusive private office, the Court held that “DeForte still could
           reasonably have expected that only those persons and their personal or business guests
           would enter the office, and that records would not be touched except with their
           permission or that of union higher-ups.” Id. at 369. The Morton Provision Court held
           that the defendants similarly had standing “because the organizations involved here are
           quite small and the defendants evidently [were] the proprietors of the entire
           operations.” Morton Provision Co., 294 F. Supp. at 391.

                 However, in this Court’s view, the Morton Provision holding would not survive
           application of the more restrictive view of standing following Rakas, just as some of
           the reasoning in DeForte is undermined by its reliance on the now-discarded
           “automatic standing” rule of Jones v. United States, 362 U.S. 257 (1960), overruled by
           United States v. Salvucci, 448 U.S. 83 (1980). See DeForte, 392 U.S. at 370 (“Our
           conclusion that DeForte had standing finds strong support in Jones v. United States,
           supra. ”).

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           ownership of a corporation is not, in and of itself, sufficient to confer upon the owner

           Fourth Amendment standing as to all corporate property.” United States v. Okun,

           No. 3:08-cr-132, 2009 WL 255624, at *4 (E.D. Va. Feb. 2, 2009) (citing cases).

           Indeed, the former Fifth Circuit has stated that where a corporate officer seeks to

           suppress illegally seized records and claims standing as a corporate officer, he does not

           establish standing because

                 [w]hen a man chooses to avail himself of the privilege of doing business
                 as a corporation, even though he is its sole shareholder, he may not
                 vicariously take on the privilege of the corporation under the Fourth
                 Amendment; documents which he could have protected from seizure, if
                 they had been his own, may be used against him, no matter how they were
                 obtained from the corporation. Its wrongs are not his wrongs; its
                 immunity is not his immunity.

           United States v. Britt, 508 F.2d 1052, 1055-56 (5th Cir. 1975) (quoting Lagow v. United

           States, 159 F.2d 245, 246 (2d Cir. 1946)). A substantial ownership interest in a

           corporation may be a factor to support a finding for standing; however, courts have

           concluded that the defendant must provide additional evidence of a relationship to the

           areas searched. United States v. Torres-Ramos, No. CR 06-656, 2008 WL 4667119,

           at *11 (C.D. Cal. Oct. 17, 2008); see also United States v. Bush, 582 F.2d 1016, 1019

           (5th Cir. 1978) (“The interest of a stockholder and corporate officer in the property of




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           the corporation is not sufficient to provide that stockholder, in his individual capacity,

           with standing.”).

                 To determine whether a corporate officer has standing, the former Fifth Circuit

           has identified the following nonexclusive factors: (1) whether the documents seized

           were prepared by the defendant; (2) where the searched information was stored

           (personal versus corporate storage); (3) whether the defendant was on the premises at

           the time of the search; and (4) whether the search was directed at corporate activity

           generally as opposed to the corporate officer personally. Bush, 582 F.2d at 1019. In

           other words, there must be a “nexus between the area searched and the work space of

           the defendant.”     Britt, 508 F.2d at 1056; see also United States v. Vicknair,

           610 F.2d 372, 379-80 (5th Cir. 1980) (“When corporate property is seized or searched,

           an individual cannot assert the corporation’s Fourth Amendment rights absent a

           showing that he had an independent privacy interest in the goods seized or the area

           searched.”) (citations omitted); see also Wayne R. Lafave et al., 3 Criminal Procedure

           § 9.1(c) (3d ed. Nov. 2010) (“Consistent with [Mancusi v. DeForte, 392 U.S. 364

           (1968)], courts have held that a corporate or individual defendant in possession of the

           business premises searched has standing, and that an officer or employee of the




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           business enterprise has standing if ‘there was a demonstrated nexus between the area

           searched and the work space of the defendant.’ ”) (footnotes omitted).

                 Generally, courts tend to find that these elements are sufficiently established

           when the area searched is set aside for the defendant’s exclusive use, such as an

           individual office. However, courts are more skeptical of standing claims when the

           defendant only occasionally used the area searched. The greater the degree of

           exclusivity and control over a work area, and the more time a defendant spends there,

           the more likely standing is to be found. By contrast, the less private a work area—and

           the less control a defendant has over that work area—the less likely standing is to be

           found.   United States v. Hamdan, 891 F. Supp. 88, 94-95 (E.D.N.Y. 1995)

           (citations omitted).   For example, in Henzel v. United States, 296 F.2d 650

           (5th Cir. 1961), the former Fifth Circuit held that the sole stockholder and president of

           a corporation had standing to challenge the seizure of corporate books and records

           when the individual had prepared much of the confiscated material, which was kept in

           his office along with his personal belongings. Id. at 653. In Chaves, the Eleventh

           Circuit found that the defendant had standing to contest a search of the warehouse,

           where he possessed the only key and he kept business and personal papers in the

           warehouse. Chaves, 169 F.3d at 691.

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                 Although an analysis of a legitimate expectation of privacy in business premises

           necessarily must be determined on a case-by-case basis, there are several considerations

           that provide guidance. In O’Connor, the Supreme Court discussed the effect on the

           issue of standing when property seized from a defendant’s workplace is personal

           property rather than business property:

                 Because the reasonableness of an expectation of privacy, as well as the
                 appropriate standard for a search, is understood to differ according to
                 context, it is essential first to delineate the boundaries of the workplace
                 context. The workplace includes those areas and items that are related to
                 work and are generally within the employer’s control. At a hospital, for
                 example, the hallways, cafeteria, offices, desks, and file cabinets, among
                 other areas, are all part of the workplace. These areas remain part of the
                 workplace context even if the employee has placed personal items in
                 them, such as a photograph placed in a desk or a letter posted on an
                 employee bulletin board.

                 Not everything that passes through the confines of the business address
                 can be considered part of the workplace context, however. An employee
                 may bring closed luggage to the office prior to leaving on a trip, or a
                 handbag or briefcase each workday. While whatever expectation of
                 privacy the employee has in the existence and the outward appearance of
                 the luggage is affected by its presence in the workplace, the employee’s
                 expectation of privacy in the contents of the luggage is not affected in the
                 same way. The appropriate standard for a workplace search does not
                 necessarily apply to a piece of closed personal luggage, a handbag or a
                 briefcase that happens to be within the employer’s business address.

           480 U.S. at 715-16; see also Wayne R. LaFave, Search & Seizure § 11.3(d)

           (“Particularly in an otherwise close case, a court may be influenced by the defendant’s

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           relationship to or interest in the particular item seized. It may be significant, therefore,

           that this item is a personal possession of the defendant and not something connected

           with the operation of the business.”).

                  To have standing, the defendant bears the burden of showing a legitimate

           expectation of privacy in the area searched. Harris, 526 F.3d at 1338; United States v.

           Brazel, 102 F.3d 1120, 1147 (11th Cir. 1997). A defendant may not establish standing

           by relying on the government’s theory of the case. United States v. Singleton,

           987 F.2d 1444, 1449 (9th Cir. 1993); United States v. McNeal, 82 F. Supp. 2d 945, 950

           (S.D. Ind. 2000); see also United States v. Henry, No. 1:09-cr-522-TCB-GGB,

           2010 WL 5559207, at *4 (N.D. Ga. Dec. 7, 2010) (R&R adopted by 2011 WL 65762

           (N.D. Ga. Jan. 7, 2011)) (“The Government correctly contends that Defendant cannot

           show standing simply through the contentions of Government agents or the theory of

           the Government’s case.”) (citing United States v. Zermeno, 66 F.3d 1058, 1062

           (9th Cir. 1995)).

                         2.    Analysis

                  As an initial matter, the Court must determine whether McCullough operated

           BB&G in December 2010 as a sole proprietorship or in a corporate form; and if the

           former, whether he would be found to have an expectation of privacy solely by

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           operating the bar as a sole proprietorship. The Court concludes that McCullough did

           not establish that he operated the business as a sole proprietorship. The burden of proof

           to establish standing is upon McCullough, and this he failed to do. Government

           Exhibit 2 demonstrates that as of February 9, 2010, McCullough operated BB&G as a

           limited liability company. See O.C.G.A. 14-3-1622 (describing that a corporation must

           submit its successive annual registration statement between January 1 and April 1 to the

           Georgia Secretary of State). There is no evidence that the LLC was dissolved. While

           under Georgia law, a person doing business under a trade name (which is what

           McCullough described and which is the legal equivalent of a sole proprietorship) must

           only file a registration statement with the Clerk of the Superior Court of the county in

           which the business is chiefly carried on, O.C.G.A. § 10-1-490, McCullough has not

           demonstrated that his mere act of filing such a registration statement during the year

           that his business was registered as a LLC changes the nature of the entity’s legal status.

                 In any event, even if McCullough validly operated BB&G as a sole

           proprietorship, the Court disagrees with the blanket statement of Professor LaFave that

           such ownership form automatically confers upon the business owner, without more, an

           expectation of privacy in the business premises and records. Given the Supreme

           Court’s totality-of-the-circumstances approach to analyzing an expectation of privacy,

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           Rakas, 439 U.S. at 152-53, and the lesser privacy interest in property used for business

           purposes generally, Burger, 482 U.S. at 700; Chaves, 169 F.3d at 690 (finding a

           significantly diminished expectation of privacy in a business in comparison to a home),

           such a categorical approach would be inconsistent with these teachings.

                 Thus, the Court concludes that the analysis employed for business premises

           generally is appropriate, even if McCullough operated the business as a sole

           proprietorship, and the Court further concludes that McCullough did not establish

           standing to challenge the search of the BB&G office.

                 Applying the binding non-exclusive factors set out in the former Fifth Circuit’s

           opinions in Bush, 582 F.2d at 1019, and Britt, 508 F.2d at 1055, first, there is no

           evidence that the documents seized were prepared in part, much less exclusively, by

           McCullough.13 Unlike Henzel, 296 F.2d at 653, distinguished in Britt, id., the record

           does not establish that any property, records or containers owned personally by

           McCullough were stored or maintained at the premises. Nor does McCullough claim

           that he authored any of the items seized or that he possessed any such items in his

           personal capacity.

                 13
                        McCullough’s argument that the incriminating nature of the hard drive was
           not readily apparent goes to whether the hard drive was properly seized, not whether
           he has standing to challenge the search.

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                 Second, there is no indication that the items searched for and seized were stored

           in personal containers as opposed to containers (such as a file cabinet, desk or safe) that

           appear to be company property. There was no evidence that he maintained any

           personal property or effects in the office. In short, there is no evidence “that any of the

           material seized there was taken from his personal desk or briefcase or files.” Britt,

           598 F.2d at 1055. Nor was there evidence that the business’s files were the exclusive

           domain of McCullough.

                 Minimal steps were taken to safeguard privacy in the non-public areas of the

           premises. At the time of the officers’ entry, the safe was unlocked and ajar. Cf. United

           States v. Jefferson, No. 09-CR-18, 2010 WL 1186279, at *5 (E.D. Wisc. Mar. 22, 2010)

           (recognizing notwithstanding defendant’s subjective testimony that he took steps to

           keep contents of closet and bag private, the court credited the officer’s testimony that

           the closet was not secured and the bag was open).

                 As to the steps taken to exclude the public, obviously, there is a greater

           expectation of privacy in the office area as opposed to the bar area, since the public was

           generally excluded from the office area. However, this begs the question of whether




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           McCullough had an independent personal expectation of privacy in the office area.14

           McCullough testified that there was an “Employees Only” sign on the door to the

           stairway leading to the office, and that the door was locked. However, the evidence at

           the hearing demonstrates that the door was not locked at the time of the entry of the

           officers and that their access to the office area was unimpeded. While the general

           public may have been excluded from the office area, there were a number of employees

           who also had access to the office area, whether by themselves (managers and the

           janitor) or under the supervision of or with permission of the managers. Similarly,

           McCullough’s argument that the government, in only calling the second officer who

           entered the office, did not establish thst the doorway to the office was locked,

           misapprehends the respective burdens of the parties in this matter. McCollough has the

           burden to demonstrate his standing, and thus it was his burden to establish that the

           office was secured from the public at the time of the search. McCollough has failed to

           satisfy his burden to show that he took reasonable steps to secure privacy in the office

                 14
                         O’Rourke v. Hayes, 378 F.3d 1201 (11th Cir. 2004), is of no help to
           McCullough. In O’Rourke, the Eleventh Circuit recognized that law enforcement may
           not make non-consensual entries into the non-public areas of a business without a
           warrant. Id. at 1206-07. There is no dispute that the Henry County Police needed a
           search warrant to search the non-public areas of the bar. Here, they had a search
           warrant to search the public and non-public premises, and thus O’Rourke is not
           illustrative.

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           since the evidence shows the door to the stairway was not locked even though the bar

           was open for business when the officers arrived since the day manager was present.

                 Third, although like Henzel, McCullough spent many hours each day at the bar

           (although the record is silent as to the amount of time he physically spent in the office),

           he was not present on the premises at the time the warrant was executed there.15, 16

                 Fourth, the search and the warrant authorizing it were directed at corporate

           activity generally as opposed to the corporate officer personally. While it is true that

           a corporation can only act through its agents and the officers believed that McCullough




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                        In the Court’s thinking, it does not matter whether McCullough’s absence
           was due to his contemporaneous arrest while his home was being searched or not. This
           factor may appear obtuse, but what it gets at is the right of a person on the premises to
           control access to and possession of commercial property. The expectation of privacy
           in a business is less than a home if for no other reason than there is business-owner’s
           expectation to invite the public onto his or her property. The owner’s presence at or
           absence from commercial property during regular business hours thus is some
           indication of the owner’s ability to exclude others from his establishment.
                 16
                        The Court also rejects McCullough’s reliance on United States v.
           Baron-Mantilla, 743 F.2d 868, 870 (11th Cir. 1984). First, that case involved a
           defendant’s claim that he had standing to challenge a search of his alleged girlfriend’s
           apartment, which is factually inapposite to the instant case. Second, as the
           Barron-Mantilla Court recognized, standing is not automatic merely because a
           corporate employee has access to or control over certain areas. See id. at 870 (mere
           possession of a key to the premises searched is insufficient to confer standing).

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           was using business property to finance the grow houses, the information sought via the

           warrant was sought from business/corporate records and not personal records.

                 As for McCullough’s reliance on Gonzalez, Inc., the Court does not find that case

           to be illustrative of the legal principles involved in this case, nor is its reasoning

           applicable here. Gonzalez, Inc. dealt with a Title III wiretap, which has its own

           standing provision, 18 U.S.C. § 2518(10)(a), and which defines “an aggrieved person”

           as one, inter alia, “against whom the interception was directed.” 18 U.S.C. § 2510(11).

           McCullough does not have an independent expectation of privacy in the premises solely

           because he was a subject of the investigation. Alderman v. United States, 394 U.S. 165,

           171-72 (1969) (“The established principle is that suppression of the product of a Fourth

           Amendment violation can be successfully urged only by those whose rights were

           violated by the search itself, not by those who are aggrieved solely by the introduction

           of damaging evidence.”). Second, the decision noted that the “the Supreme Court has

           held that owners of the premises where an illegal wiretap occurs have standing to

           challenge the interception, even if the owners did not participate in the intercepted

           conversations.” Gonzalez, Inc., 412 F.3d at 1116 (citations omitted). This is not

           consistent with general Fourth Amendment principles.




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                 As a result, McCullough has not shown that he had a personal expectation of

           privacy in the area searched or the items seized in order to give him standing to

           challenge the search or the items seized.       For these reasons, the undersigned

           RECOMMENDS that Joshua McCullough’s motion to suppress evidence seized at the

           Backwoods Bar & Grill, located at 2220 Jodeco Road, McDonough, Henry County,

           Georgia, [Doc. 156], be DENIED because McCullough lacks standing to challenge the

           search. In the event the District Judge disagrees, the merits of the motion to suppress

           that were not disposed of in the earlier R&R are discussed below.

           II.   Merits

                 A.     The Search Warrant

                 In Henry County Special Agent Ponder’s search warrant affidavit for

           2220 Jodeco Road, [see Warrant Aff. in Doc. 241 at Ex. G], Ponder stated as follows:

           In May 2010, a confidential source (“CS”) informed Henry County law enforcement

           that the CS overheard a conversation concerning McCullough between two people at

           Backwoods Bar and Grill, which is located at 2220 Jodeco Road. The CS did not know

           the individuals, but the CS believed one was a regular guitarist at the bar. The

           conversation revealed that McCullough was going to open a new gym, which was going

           to be “a very sophisticated gym,” and that McCullough’s “silent partner” was going to

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           be Jimmy Ray. The CS only knew three Jimmy Rays, one of whom was Jimmy Ray

           Whorton who had jumped bond in 1982 when the CS was a bail bonds person.

                 A search of 925 Hemphill revealed a marijuana grow house. After the search,

           James McKenzie was arrested in a 2001 Chevrolet 1500 pick up truck and charged with

           marijuana manufacturing. Henry County law enforcement learned that the truck was

           registered to JSCJ Manufacturing and Distribution (“JSCJ Manufacturing”) in Sandra

           Whorton’s name at the 1396 Commerce Drive address. McKenzie advised that he was

           employed with Old South Amusement Incorporated (“Old South Amusement”).

           Ponder learned that McKenzie had worked at Old South Amusement with Karry Autry

           following the search at 166 Alexander Drive (Autry’s residence), which also revealed

           a grow house.

                 Rebecca Harris owned JSCJ Manufacturing, and Sandra Whorton was registered

           as the CEO, CFO and Secretary. Harris also owned Old South Amusement, and

           Sandra Whorton served as the CEO, Jimmy Ray Whorton served as CFO, and Paul

           Bunch served as Secretary. The Whortons lived at 1828 Flat Rock Road.

                 A records check of Sandra Whorton revealed that there was an active warrant for

           her arrest from Bexar County, Texas, for commercial gambling. A records check of

           Jimmy Ray Whorton revealed that he was on probation and had a number of previous

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           arrests in the 1970s for theft and assault, in the 1980s for drug possession and drug

           trafficking, and in the 1990s for marijuana possession with the intent to distribute and

           commercial gambling. Henry County law enforcement was informed by Texas law

           enforcement that Jimmy Ray Whorton had been found with $55,000 in U.S. currency

           and small amounts of narcotics. Finally, Bunch had previous Georgia arrests for

           commercial gambling and fleeing or attempting to elude and Texas arrests from

           gambling.

                   A 2001 Isuzu truck registered to Preferred Amusements at 445 Hood Road,

           which did not have a valid Henry County Business Licensing Office, was seen at the

           1680 Jodeco Road residence, which was under surveillance because of an anonymous

           tip that it was a grow house. The 445 Hood Road house is registered to Danielle

           McCullough, Joshua McCullough’s spouse, and is Joshua McCullough’s residence.

           Prior investigations into McCullough for illegal gambling revealed that he had a

           financial interest in Old South Amusement and was a known associate of the Whortons.

           A car registered to the Whortons was seen at the 1686 Jodeco Road address, which was

           alleged to be the residence of the people maintaining the grow house at 1680 Jodeco

           Road.




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                 On November 29, 2010, the 2001 Isuzu truck that was observed at the

           1680 Jodeco Road grow house was seen at Backwoods Bar and Grill, whose registered

           agent was McCullough.

                 A December 8, 2010, search of the 1680 and 1686 Jodeco Road residences found

           a sophisticated marijuana cultivation operation similar to the ones at 925 Hemphill

           Road and 166 Alexander Drive. The search uncovered several gaming machines set up

           to monitor the closed circuit security camera system, and these machines had labels

           indicating that they were owned by Old South Amusement and JSCJ Manufacturing.

           A box in the basement of the residence had a handwritten note on it, stating “For Josh,”

           on it, which Ponder believed was referring to Josh McCullough.

                 Ponder believed that the above circumstances demonstrated that the Whortons’

           corporations as well as Backwoods Bar and Grill and Preferred Amusements were

           funding the grow houses. Ponder indicated that the grow houses were not in operation

           long enough to provide sufficient funding and that the cultivation processes were only

           in operation for two or three months and could not support themselves. He also

           asserted that it was reasonable that records relating to financial activity would be kept

           at residences and that the businesses kept gambling machines at these residences.




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                 B.     Contentions of the Parties

                 McCullough argues that the warrant affidavit contained minimal information to

           establish the probability that the items sought were located at 2220 Jodeco Road.

           [Doc. 156 at 3]. He next argues that the warrant was overly broad and did not authorize

           the seizure of firearms as they were crossed out from the warrant. [Id. at 4-5].

           McCullough further argues that the warrant did not authorize the seizure of the

           purchase agreement for 436 Hood Road. [Id. at 5].

                 The government argues that there was probable cause to support the search

           because law enforcement was aware that the owner of Backwoods Bar and Grill

           supported the operation of the grow houses. [Doc. 236 at 42]. It also asserts that an

           Isuzu truck owned by Preferred Amusements was seen outside the grow houses at

           925 Hemphill Road17 and 1680 Jodeco Road and was parked outside of Backwoods

           Bar. [Id.]. Finally, the government argues that there was nothing to suggest that the

           agents did not reasonably rely in good faith on the validity of the warrant because it was

           not facially deficient or so lacking in indicia of probable cause as to render reliance




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                         The Court was unable to find a reference in the search warrant application
           that the Preferred Amusements truck was observed at the Hemphill Road address.

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           upon it unreasonable and because the magistrate did not abandon the judicial role.

           [Id. at 51].

                  McCullough’s reply brief merely reincorporates prior arguments from the motion

           to suppress. [Doc. 259 at 5-6].

                  C.      Discussion

                  The parties’ briefs raise two issues not yet decided: (1) whether probable cause

           supports a search of this business; and (2) whether law enforcement had a good-faith

           belief that the warrant was valid.18 The undersigned addresses each issue below.

                          1.    Probable Cause

                  Probable cause to support a search warrant exists when the totality of the

           circumstances allows a conclusion that there is a fair probability of finding contraband

           or evidence at a particular location. See United States v. Noriega, 676 F.3d 1252, 1261

           (11th Cir. 2012); United States v. Gonzalez, 940 F.2d 1413, 1419 (11th Cir. 1991).

           “[P]robable cause is a fluid concept--turning on the assessment of probabilities in

           particular factual contexts[.]” Illinois v. Gates, 462 U.S. 213, 232 (1983); United States

           v. Brundidge, 170 F.3d 1350, 1352 (11th Cir. 1999). “[P]robable cause deals ‘with

           probabilities. These are not technical; they are the factual and practical considerations

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                          The Court resolved the Franks issue in the earlier R&R.

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           of everyday life on which reasonable and prudent men, not legal technicians, act.’ ”

           Gates, 462 U.S. at 241 (quoting Brinegar v. United States, 338 U.S. 160, 175 (1949)).

           The task of the issuing magistrate judge in determining whether to issue a warrant “is

           simply to make a practical, common-sense decision whether, given all the

           circumstances set forth in the affidavit before him, including the ‘veracity’ and ‘basis

           of knowledge’ of persons supplying hearsay information, there is a fair probability that

           contraband or evidence of a crime will be found in a particular place.” Gates,

           462 U.S. at 232; United States v. Tate, 586 F.3d 936, 942-43 (11th Cir. 2009) (quoting

           United States v. Jenkins, 901 F.2d 1075, 1080 (11th Cir. 1990)); United States v.

           Jiminez, 242 F.3d 1243, 1248 (11th Cir. 2000). “The nexus between the objects to be

           seized and the premises searched can be established from the particular circumstances

           involved and need not rest on direct observation.” Jenkins, 901 F.3d at 1080 (citation

           and alteration omitted). A finding of a nexus does not require the affidavit to allege

           that the criminal activity took place at the location to be searched. United States v.

           Khami, 362 Fed. Appx. 501, 504 (6th Cir. Jan. 26, 2010) (citing United States v. Jones,

           159 F.3d 969, 974-75 (6th Cir. 1998)); see also United States v. Abboud, 438 F.3d 554,

           572 (6th Cir. 2006) (“One does not need Supreme Court precedent to support the simple

           fact that records of illegal business activity are usually kept at either a business location

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           or at the defendant’s home. Likewise, personal financial records are also usually stored

           at a person’s home or place of business.”).

                 Also, to avoid “rigid” legal rules, Gates changed the “two-pronged test” of

           Aguilar v. Texas, 378 U.S. 108, 114 (1964), into a totality-of-the-circumstances test.

           See Gates, 462 U.S. at 230-35; Brundidge, 170 F.3d at 1352-53. Under the Gates

           totality-of-the-circumstances test, the “veracity” and “basis of knowledge” prongs of

           Aguilar, for assessing the usefulness of an informant’s tips, are not independent.

           “[T]hey are better understood as relevant considerations in the totality of the

           circumstances analysis that traditionally has guided probable cause determinations: a

           deficiency in one may be compensated for . . . by a strong showing as to the other[.]”

           Gates, 462 U.S. at 233; Brundidge, 170 F.3d at 1353. That is, “[w]hen there is

           sufficient independent corroboration of an informant’s information, there is no need to

           establish the veracity of the informant.” United States v. Martin, 297 F.3d 1308, 1314

           (11th Cir. 2002) (citing United States v. Danhauer, 229 F.3d 1002, 1006 (10th Cir.

           2000)). However, independent police corroboration is not a requirement in each and

           every case. Brundidge, 170 F.3d at 1353. For example, “[a]n ‘explicit and detailed

           description of alleged wrongdoing, along with a statement that the event was observed

           firsthand, entitles the [confidential informant’s] tip to greater weight than might

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           otherwise be the case.’ ” United States v. Robinson, 202 Fed. Appx. 434, 436

           (11th Cir. Oct. 27, 2006) (quoting Brundidge, 170 F.3d at 1353) (citations omitted in

           original).

                 In deciding whether to issue a search warrant, the issuing judge may rely upon

           the opinions and conclusions of an experienced law enforcement agent-affiant, United

           States v. Robinson, 62 F.3d 1325, 1331 n.9 (11th Cir. 1995), since “[c]onduct innocent

           in the eyes of the untrained may carry entirely different ‘messages’ to the experienced

           or trained observer.” United States v. Gonzalez, 969 F.2d 999, 1004 (11th Cir. 1992)

           (quoting United States v. Fouche, 776 F.2d 1398, 1403-04 (9th Cir. 1985)).

                 Finally, “probable cause must exist when the magistrate judge issues the search

           warrant,” United States v. Santa, 236 F.3d 662, 672 (11th Cir. 2000) (quoting United

           States v. Harris, 20 F.3d 445, 450 (11th Cir. 1994)), because a search is not to be made

           legal by what it turns up, United States v. Di Re, 332 U.S. 581, 595 (1948).

                 Then, the task of a reviewing court is not to conduct a de novo determination of

           probable cause, but only to determine whether there is substantial evidence in the

           record supporting the magistrate judge’s decision to issue the warrant, Massachusetts

           v. Upton, 466 U.S. 727, 728 (1984), affording “great deference to judicial determination

           of probable cause to issue a search warrant,” Robinson, 62 F.3d at 1331 (citing

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           Gonzalez, 940 F.2d at 1419). Courts reviewing the legitimacy of search warrants

           should not interpret supporting affidavits in a hypertechnical manner; rather, a realistic

           and commonsense approach should be employed so as to encourage recourse to the

           warrant process and to promote the high level of deference traditionally given to

           magistrates in their probable-cause determinations. Gates, 462 U.S. at 236-37 (citing

           United States v. Ventresca, 380 U.S. 102, 109 (1965)); see also United States v. Miller,

           24 F.3d 1357, 1361 (11th Cir. 1994). As the Supreme Court has instructed, “[a]lthough

           in a particular case it may not be easy to determine when an affidavit demonstrates the

           existence of probable cause, the resolution of doubtful or marginal cases in this area

           should be largely determined by the preference to be accorded to warrants.” Upton,

           466 U.S. at 734 (quoting Ventresca, 380 U.S. at 109).

                 The Court concludes there was no probable cause to support the issuance of the

           search warrant for 2220 Jodeco Road for records about BB&G’s funding of marijuana

           grow houses. The only allegations in the warrant application that are relevant to such

           a conclusion are (1) the overheard conversation in the bar about “Jimmy Ray” financing

           an upscale gym for McCullough; (2) a truck registered to Preferred Amusements at an

           address known to be McCullough’s residence was observed at a residence which was

           later found to be a grow house and was observed also at BB&G; (3) a box at one of the

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           grow houses on Jodeco Road was labeled “For Josh.” These statements, even when

           considered in light of some connection between McCullough and the Whortons,

           applying exceptional deference to the issuing judge and keeping in mind that in close

           cases the warrant is to be found valid, do not amount to probable cause that evidence

           of marijuana grow house funding would be located at BB&G.

                 The overarching distinction between this warrant and the warrants for

           1396 Commerce Drive, Suites A and B, which the Court found to be supported by

           probable cause, [see Doc. 489 at 31-35], is that the latter warrants contained statements

           establishing a nexus between the grow houses and the businesses at issue, including the

           use of corporate assets to facilitate the grow house operations. No such nexus exists

           as to this warrant. The single sighting of the Preferred Amusement truck at BB&G and

           one of the grow houses is insufficient to establish that the BB&G was being used to

           finance grown houses and that evidence of the same would be located in the books and

           records of that business.

                        2.     Leon Good Faith

                 Since the Court concludes that the BB&G search warrant was not supported by

           probable cause, the Court must determine whether the warrant’s invalidity is saved by

           application of the good-faith exception. The Supreme Court has established a “good

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           faith” exception to the exclusionary rule to prevent suppression of the items found

           pursuant to a search warrant. Under United States v. Leon, 468 U.S. 897, 913 (1984),

           the “good faith” exception to the rule requiring the suppression of evidence for

           violations of the Fourth Amendment keeps evidence from being suppressed when law

           enforcement officers obtain evidence through objective good-faith reliance on a facially

           valid warrant that is later found to lack probable cause. See United States v. Gonzalez,

           969 F.2d 999, 1004 n.4 (11th Cir. 1992). Nevertheless, “it is clear that in some

           circumstances the officer will have no reasonable grounds for believing that the warrant

           was properly issued.” Leon, 468 U.S. at 922-23. Thus, Leon’s good-faith exception

           does not apply to the following situations: (1) where the magistrate in issuing a warrant

           was misled by information in an affidavit that the affiant knew was false or would have

           known was false except for his reckless disregard of the truth; (2) where the issuing

           magistrate wholly abandoned his judicial role; (3) where the affidavit supporting the

           warrant is so lacking in indicia of probable cause as to render official belief in its

           existence entirely unreasonable; and (4) where, depending upon the circumstances of

           the particular case, a warrant is so facially deficient—i.e., in failing to particularize the

           place to be searched or the things to be seized—that the executing officers cannot




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           reasonably presume it to be valid. United States v. Robinson, 336 F.3d 1293, 1296

           (11th Cir. 2003).

                 The Court finds that the affidavit in this case was so lacking in probable cause

           as to render official belief in its existence entirely unreasonable; thus, the third

           exception to the Leon good-faith exception applies, and Leon does not cure the

           warrant’s invalidity. See Leon, 468 U.S. at 915; Robinson, 336 F.3d at 1296; United

           States v. Glinton, 154 F.3d 1245, 1257 (11th Cir. 1998). The affidavit in support of the

           warrant failed to lay out sufficient facts in support of the affiant’s belief that evidence

           of the BB&G’s financing of the sophisticated grow houses would be located on the

           premises. Compare United States v. Fowlie, 24 F.3d 1059, 1067 (9th Cir. 1994) (“The

           affidavit contained the affiant’s plausible theory that the property was used as a ‘safe

           house’ for drug distribution.”). The affidavit failed to establish any significant

           connection between the business premises and McCullough (on the one hand), and the

           grow houses (on the other). The affidavit did not demonstrate that any equipment or

           vehicles associated with BB&G were employed to facilitate the grow house operations,

           unlike property and other assets of the Whortons’ businesses. That a truck registered

           to one of McCullough’s businesses was seen one time at a grow house and at BB&G,

           and a box labeled “For Josh” was found at the grow house, is insufficient basis to find

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           objectively that the warrant was supported by probable cause. As a result, the affiant’s

           belief that there was probable cause to believe that BB&G was funding the grow houses

           is a “ ‘bare-bone’ statement of nothing more than conclusory allegations.” Leon,

           468 U.S. at 915. Thus, the good-faith exception does not save the warrant.

                  As a result, if the District Court concludes that if McCullough has standing to

           contest the search warrant at Backwoods Bar & Grill, then the undersigned would

           recommend that his motion to suppress be granted because the warrant was not

           supported by probable cause and is not saved by Leon good faith.

           III.   Conclusion

                  In conclusion, the undersigned RECOMMENDS that Joshua McCullough’s

           motion to suppress evidence, [Doc. 156], be DENIED.

                  IT IS SO RECOMMENDED, this the             8th    day of October, 2012.




                                                   ALAN J. BAVERMAN
                                                   UNITED STATES MAGISTRATE JUDGE




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